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                       '*                 il$f.??                   Rr FoR rHE

                     America
      United States of                     )
              Plaintiff                    )             Case   No: l8 CR 495
                v.)
                                           )             Judge: Maria Valdez
                                           )
              Parker
            Ivan                           )
            Defendant                      )




                                          ORDER


Detention hearing held on 8/15/18 as to Defendant Ivan Parker. Attorney Richard
Kling appeared on behalf of the defendant. The Government's oral motion to detain
the defendant based on being a risk of flight and a danger to the community is
hereby granted. Defendant waives his right to a bond determination hearing at
this time without prejudice. A status on preliminary examination hearing is reset
to 8l2].ll8 at 11:00 a.m. in Courtroom 1041. Detention order to follow. Defendant is
to remain in federal custody.




(T:00:05)




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Date: August l5 2018                              Magistrate Judge Maria Valdez
